            Case 2:13-cr-00160-TLN-AC Document 68 Filed 08/27/14 Page 1 of 3


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5                           IN THE UNITED STATES DISTRICT COURT

6                         FOR THE EASTERN DISTRICT OF CALIFORNIA

7
                                                 ) Case No.: CR.S. 13-160 MCE
8    United States of America,                   )
                                                 ) STIPULATION REGARDING EXCLUDABLE TIME
9                   Plaintiff,                   ) PERIODS UNDER SPEEDY TRIAL ACT; ORDER
                                                 )
10        vs.                                    ) Court: Hon. Morrison C. England
      Sakhanskiy, et.al.                         ) Time:     9:00 a.m.
11                                               ) Date:     October 2, 2014
                    Defendants.                  )
12                                               )
13

14                                          STIPULATION

15
           Plaintiff United States of America, by and through its counsel of record, and
16
     defendants, by and through their counsel of record, hereby stipulate as follows:
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           1.       By previous order, this matter was set for status on August 21, 2014.
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           2.       By this stipulation, defendants now move to continue the status
19   conference until October 2, 2014, and that date is available with the Court

20         3.       The parties agree and stipulate, and request that the Court find the

21   following:

22         a.       The government has provided over 6,000 pages of discovery, including

     investigative reports and related documents in electronic form, over 3 hours of audio
23
     taped interviews with Sacramento Metropolitan Fire investigators and local law
24
     enforcement and other witnesses and photographs.     Alexander Sakhaniskiy has obtained
25
     new counsel.   Counsel will need to review reports and engage in investigation.
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           b.       Counsel for Larissa Sakhaniskiy has hired a fire investigation expert to
27   review evidence in this matter.    Counsel continues to review discovery and actively

28   investigate this matter.    Counsel desire additional time to consult with their




                                                -1-
            Case 2:13-cr-00160-TLN-AC Document 68 Filed 08/27/14 Page 2 of 3


     clients, to continue investigation and research related to the charges, to review and
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     copy discovery for this matter, to discuss potential resolutions with clients, to
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     prepare pretrial motions, and to otherwise prepare for trial.
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           c.     Counsel for defendants believe that failure to grant the above-requested
4    continuance would deny defendant the reasonable time necessary for effective

5    preparation, taking into account the exercise of due diligence.

6          d.     The government does not object to the continuance.

7          e.     Based on the above-stated findings, the ends of justice served by

     continuing the case as requested outweigh the interest of the public and the defendant
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     in a trial within the original date prescribed by the Speedy Trial Act.
9
           f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
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     3161, et seq., within which trial must commence, the time period of   August 21, 2014
11
     to October 2, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§
12   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

13   the Court at defendant’s request on the basis of the Court's finding that the ends of

14   justice served by taking such action outweigh the best interest of the public and the

15   defendant in a speedy trial.

           4.     Nothing in this stipulation and order shall preclude a finding that other
16
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
18
     IT IS SO STIPULATED.
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     Dated: August 18, 2014                  Respectfully submitted,
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21
                                            __/s/ Shari Rusk___
22                                         Shari Rusk
                                            Attorney for Defendant
23                                          Larisa Sakhanskiy

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                                              -2-
              Case 2:13-cr-00160-TLN-AC Document 68 Filed 08/27/14 Page 3 of 3


                                           /s/ Mark J. Reichel____
1                                          Mark J. Reichel
                                           Attorney for Defendant
2                                          Alexander Sakhaniskiy

3                                          /s/ Michael Anderson
                                           Michael Anderson
4                                          Assistant United States Attorney

5
                                           ORDER
6
              IT IS SO ORDERED.
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     Dated:     August 22, 2014
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